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 Fill in this information to identify your case:

 Debtor 1                   Paul Michael McGoey
                            First Name                      Middle Name                       Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                       Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF LOUISIANA

 Case number
 (if known)                                                                                                                                               Check if this is an
                                                                                                                                                          amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?

           No. Go to Part 2.
           Yes.

 Part 2:        List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

           No. You have nothing to report in this part. Submit this form to the court with your other schedules.

           Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim

 4.1          A and L Sales                                           Last 4 digits of account number                                                                        $432.14
              Nonpriority Creditor's Name
              111 Dr Bowen St                                         When was the debt incurred?             06/3/2019
              Belle Chasse, LA 70037
              Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only                                           Contingent
                  Debtor 2 only                                           Unliquidated
                  Debtor 1 and Debtor 2 only
                                                                          Disputed
                  At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                  Student loans
              debt                                                       Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                         report as priority claims

                  No                                                      Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                     Other. Specify   Business Vets




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 Debtor 1 Paul Michael McGoey                                                                            Case number (if known)

 4.2      Alarm Protection Services                                  Last 4 digits of account number                                                          $381.80
          Nonpriority Creditor's Name
          4440 Trenton Street                                        When was the debt incurred?           05/1/2019
          Metairie, LA 70006
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business OPHG Baton Rouge #1 LLC


 4.3      Alarm Protection Services                                  Last 4 digits of account number                                                          $984.00
          Nonpriority Creditor's Name
          4440 Trenton Street                                        When was the debt incurred?           04/1/2019
          Metairie, LA 70006
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Gretna


 4.4      Alarm Protection Services                                  Last 4 digits of account number                                                          $170.00
          Nonpriority Creditor's Name
          4440 Trenton Street                                        When was the debt incurred?           08/6/2019
          Metairie, LA 70006
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Vets




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 Debtor 1 Paul Michael McGoey                                                                            Case number (if known)

 4.5      All Temp Referigeration Services                           Last 4 digits of account number                                                        $2,444.52
          Nonpriority Creditor's Name
          271 La-1085                                                When was the debt incurred?           05/23/2019
          Madisonville, LA 70447
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Vets


 4.6      All Temp Refrigeration Services                            Last 4 digits of account number                                                        $1,220.44
          Nonpriority Creditor's Name
          271 La-1085                                                When was the debt incurred?           05/1/2019
          Madisonville, LA 70447
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business OPHG Baton Rouge 1 LLC


 4.7      All Temp Refrigeration Services                            Last 4 digits of account number                                                        $2,356.01
          Nonpriority Creditor's Name
          271 La-1085                                                When was the debt incurred?           05/1/2019
          Madisonville, LA 70447
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Gretna




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 Debtor 1 Paul Michael McGoey                                                                            Case number (if known)

 4.8      Alpine Acadian, LLC                                        Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          3867 Plaza Tower Drive                                     When was the debt incurred?
          First Floor
          Baton Rouge, LA 70816
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Business - Personal guaranty for lease by
                                                                                         OPHG Baton Rouge #1, LLC of 3535
              Yes                                                       Other. Specify   Perkins Road, Baton Rouge for Provisions


 4.9      Ambiance Radio                                             Last 4 digits of account number                                                            $90.67
          Nonpriority Creditor's Name
          79 E. Daily Drive                                          When was the debt incurred?           08/13/2019
          Suite 263
          Camarillo, CA 93010
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Vets


 4.1
 0        American Audio Visual, LLC                                 Last 4 digits of account number                                                          $397.01
          Nonpriority Creditor's Name
          3348 Drusilla                                              When was the debt incurred?           04/4/2019
          #5C
          Baton Rouge, LA 70809
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business OPHG Baton Rouge 1 LLC




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 Debtor 1 Paul Michael McGoey                                                                            Case number (if known)

 4.1
 1        Artisan Wine                                               Last 4 digits of account number                                                        $2,793.39
          Nonpriority Creditor's Name
          321 South Cypress Street                                   When was the debt incurred?           07/3/2019
          Hammond, LA 70403
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business OPHG Baton Rouge


 4.1
 2        Autochlor Services LLC                                     Last 4 digits of account number                                                        $2,793.39
          Nonpriority Creditor's Name
          500 Dakin Street                                           When was the debt incurred?           07/3/2019
          Jefferson, LA 70121
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business OPHG Baton Rouge 1 LLC


 4.1
 3        Balloon Mania of La                                        Last 4 digits of account number                                                        $1,410.45
          Nonpriority Creditor's Name
          1130 South Range Avenue                                    When was the debt incurred?           08/1/2019
          Suite A
          Denham Springs, LA 70726
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business OPHG Baton Rouge 1 LLC




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 Debtor 1 Paul Michael McGoey                                                                            Case number (if known)

 4.1
 4        Baton Rouge Shrimp & Oyster Co.                            Last 4 digits of account number                                                        $7,468.20
          Nonpriority Creditor's Name
          1902 Beaumont Drive                                        When was the debt incurred?           03/30/2019
          Baton Rouge, LA 70806
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business - OPHG Baton Rouge 1 LLC


 4.1
 5        Baton Rouge Water Company                                  Last 4 digits of account number                                                          $600.00
          Nonpriority Creditor's Name
          8755 Goodwood Blvd                                         When was the debt incurred?           07/1/2019
          Baton Rouge, LA 70806
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business OPHG Baton Rouge 1 LLC


 4.1
 6        Bernard C. Stolberg                                        Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          5600 Evelyn Court                                          When was the debt incurred?
          New Orleans, LA 70124
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Possible claims arising out of business




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 Debtor 1 Paul Michael McGoey                                                                            Case number (if known)

 4.1
 7        Billy Heromans Sherwood                                    Last 4 digits of account number                                                          $214.37
          Nonpriority Creditor's Name
          10812 North Harrells Ferry Road                            When was the debt incurred?           05/11/2019
          Baton Rouge, LA 70816
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business OPHG Baton Rouge 1 LLC


 4.1
 8        Brinks Inc                                                 Last 4 digits of account number                                                        $1,372.46
          Nonpriority Creditor's Name
          901 Labarre Road                                           When was the debt incurred?           07/1/2019
          #103
          Metairie, LA 70001
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Vets


 4.1
 9        Brinks Inc.                                                Last 4 digits of account number                                                        $1,315.97
          Nonpriority Creditor's Name
          901 Labarre Road                                           When was the debt incurred?           07/1/2019
          #103
          Metairie, LA 70001
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Gretna




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 Debtor 1 Paul Michael McGoey                                                                            Case number (if known)

 4.2
 0        Capital City Produce                                       Last 4 digits of account number                                                        $1,290.70
          Nonpriority Creditor's Name
          16550 Commercial Ave                                       When was the debt incurred?           07/18/2019
          Baton Rouge, LA 70806
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business OPHG Baton Rouge 1 LLC


 4.2
 1        Carbons Golden Malted                                      Last 4 digits of account number                                                          $230.29
          Nonpriority Creditor's Name
          4101 William Richardson Drive                              When was the debt incurred?           08/1/2019
          South Bend, IN 46628
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Gretna


 4.2
 2        Carbons Golden Malted                                      Last 4 digits of account number                                                          $186.00
          Nonpriority Creditor's Name
          4101 William Richardson Drive                              When was the debt incurred?           09/5/2019
          South Bend, IN 46628
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Vets




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 Debtor 1 Paul Michael McGoey                                                                            Case number (if known)

 4.2
 3        Cintas                                                     Last 4 digits of account number                                                          $230.29
          Nonpriority Creditor's Name
          625 Elmwood Park Blvd.                                     When was the debt incurred?           08/19/2019
          New Orleans, LA 70123
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Gretna


 4.2
 4        Cintas                                                     Last 4 digits of account number                                                            $46.82
          Nonpriority Creditor's Name
          625 Elmwood Park Blvd.                                     When was the debt incurred?           08/22/2019
          New Orleans, LA 70123
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Vets


 4.2
 5        Citi                                                       Last 4 digits of account number       2832                                           $34,178.47
          Nonpriority Creditor's Name
          Costco Wholesale                                           When was the debt incurred?           5/6/2018 - 8/15/2019
          Post Office Box 6749
          Sioux Falls, SD 57117-6749
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business - goods and services




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 Debtor 1 Paul Michael McGoey                                                                            Case number (if known)

 4.2
 6        Climate Controlled Self Storage                            Last 4 digits of account number                                                          $425.00
          Nonpriority Creditor's Name
          3147 College Drive                                         When was the debt incurred?           08/1/2019
          Baton Rouge, LA 70808
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business OPHG Baton Rouge 1 LLC


 4.2
 7        Coca Cola Bottling Company                                 Last 4 digits of account number                                                        $1,621.56
          Nonpriority Creditor's Name
          5601 Citrus Blvd                                           When was the debt incurred?           07/18/2019
          Harahan, LA 70123
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Gretna


 4.2
 8        Coca-Cola Bottling Company                                 Last 4 digits of account number                                                          $871.25
          Nonpriority Creditor's Name
          5601 Citrus Blvd                                           When was the debt incurred?           08/9/2019
          New Orleans, LA 70123
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business OPHG Baton Rouge 1 LLC




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 Debtor 1 Paul Michael McGoey                                                                            Case number (if known)

 4.2
 9        Commerce Master Tenant, LLC                                Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          643 Magazine Street, Suite 306                             When was the debt incurred?
          New Orleans, LA 70130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Business - Possible personal guaranty for
                                                                                         lease by The Vintage Deskjob Baton Rouge
              Yes                                                       Other. Specify   #1, LLC


 4.3
 0        Community Coffee                                           Last 4 digits of account number                                                          $366.96
          Nonpriority Creditor's Name
          3332 Partridge Lane                                        When was the debt incurred?           08/16/2019
          Building A
          Baton Rouge, LA 70809
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business OPHG Baton Rouge 1 LLC


 4.3
 1        Crescent City Candle                                       Last 4 digits of account number                                                            $49.25
          Nonpriority Creditor's Name
          1010 Common Street                                         When was the debt incurred?           07/24/2019
          New Orleans, LA 70112
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   OPHG Baton Rouge 1 LLC




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 Debtor 1 Paul Michael McGoey                                                                            Case number (if known)

 4.3
 2        Crescent City Candle                                       Last 4 digits of account number                                                          $764.40
          Nonpriority Creditor's Name
          1010 Common Street                                         When was the debt incurred?           05/27/2019
          New Orleans, LA 70112
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Vets


 4.3
 3        Crescent City Electronics                                  Last 4 digits of account number                                                          $291.34
          Nonpriority Creditor's Name
          10567 Airline Highway                                      When was the debt incurred?           05/29/2019
          St. Rose, LA 70087
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business OPHG Baton Rouge 1 LLC


 4.3
 4        Crescent Crown Dist                                        Last 4 digits of account number                                                            $67.17
          Nonpriority Creditor's Name
          5900 Almonaster Avenue                                     When was the debt incurred?           09/19/2019
          New Orleans, LA 70126
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Gretna




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 Debtor 1 Paul Michael McGoey                                                                            Case number (if known)

 4.3
 5        Crescent Crown Dist.LLC                                    Last 4 digits of account number                                                          $117.46
          Nonpriority Creditor's Name
          5900 Almonaster Avenue                                     When was the debt incurred?           09/20/2019
          New Orleans, LA 70126
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business OPHG Baton Rouge 1 LLC


 4.3
 6        Custom Apparel                                             Last 4 digits of account number                                                          $397.29
          Nonpriority Creditor's Name
          2617 Edenborn Avenue                                       When was the debt incurred?           07/5/2019
          Metairie, LA 70002
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business OPHG Baton Rouge 1 LLC


 4.3
 7        Custom Apparel                                             Last 4 digits of account number                                                          $443.68
          Nonpriority Creditor's Name
          2617 Edenborn Avenue                                       When was the debt incurred?           08/19/2019
          Metairie, LA 70002
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Vets




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 Debtor 1 Paul Michael McGoey                                                                            Case number (if known)

 4.3
 8        Daniel Becket Becnel                                       Last 4 digits of account number                                                     $306,412.99
          Nonpriority Creditor's Name
          4425 W. Airline Hgwy                                       When was the debt incurred?           2017
          Suite B
          Laplace, LA 70068
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Loan


 4.3
 9        Debra Dunn                                                 Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          1025 Race Street                                           When was the debt incurred?
          New Orleans, LA 70130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Business - Possible personal guaranty for
                                                                                         lease by Vintage #1, LLC of 3121 Magazine
              Yes                                                       Other. Specify   Street for the Vintage restaurant


 4.4
 0        Direct TV                                                  Last 4 digits of account number                                                          $467.60
          Nonpriority Creditor's Name
          P.O. Box 105249                                            When was the debt incurred?           02/21/2019
          Atlanta, GA 30348-5249
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business OPHG Baton Rouge 1 LLC




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 Debtor 1 Paul Michael McGoey                                                                            Case number (if known)

 4.4
 1        DP1 Design                                                 Last 4 digits of account number                                                          $329.70
          Nonpriority Creditor's Name
          141 Robert E. Lee Blvd.                                    When was the debt incurred?           08/1/2019
          #244
          New Orleans, LA 70124
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Gretna


 4.4
 2        Entergy                                                    Last 4 digits of account number                                                              $1.00
          Nonpriority Creditor's Name
          P.O. Box 8108                                              When was the debt incurred?           01/10/2019
          Baton Rouge, LA 70891-8108
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business OPHG Baton Rouge 1 LLC


 4.4
 3        Fire & Safety Commodities                                  Last 4 digits of account number                                                          $550.00
          Nonpriority Creditor's Name
          245 Woodland Drive                                         When was the debt incurred?           08/8/2019
          Laplace, LA 70068
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




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 Debtor 1 Paul Michael McGoey                                                                            Case number (if known)

 4.4
 4        Fire & Safety Commodities                                  Last 4 digits of account number                                                        $1,511.02
          Nonpriority Creditor's Name
          922 Industry Road                                          When was the debt incurred?           06/10/2019
          Kenner, LA 70062
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Vets


 4.4
 5        Gary Solomon                                               Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          5400 Bancroft Dr.                                          When was the debt incurred?
          New Orleans, LA 70112
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Possible claims arising out of business


 4.4
 6        GBP Direct                                                 Last 4 digits of account number                                                        $1,080.97
          Nonpriority Creditor's Name
          133 East third Street                                      When was the debt incurred?           05/8/2019
          Westwego, LA 70062
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business OPHG Baton Rouge 1 LLC




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 Debtor 1 Paul Michael McGoey                                                                            Case number (if known)

 4.4
 7        Glazer's Companies of LA                                   Last 4 digits of account number                                                          $807.44
          Nonpriority Creditor's Name
          111 Riverbend Drive                                        When was the debt incurred?           09/6/2019
          St. Rose, LA 70087
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Gretna


 4.4
 8        Glazers Companies of LA                                    Last 4 digits of account number                                                        $1,214.61
          Nonpriority Creditor's Name
          111 Riverbend Drive                                        When was the debt incurred?           09/10/2019
          St. Rose, LA 70087
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business OPHG Baton Rouge


 4.4
 9        Glazers Companies of LA                                    Last 4 digits of account number                                                          $735.00
          Nonpriority Creditor's Name
          111 Riverbend Drive                                        When was the debt incurred?           04/29/2019
          St. Rose, LA 70087
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Vets




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 Debtor 1 Paul Michael McGoey                                                                            Case number (if known)

 4.5
 0        Gulf Coast Bank                                            Last 4 digits of account number       7920                                          $155,069.25
          Nonpriority Creditor's Name
          Attn: Michael Carter                                       When was the debt incurred?           2016
          200 St. Charles Avenue
          New Orleans, LA 70130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Business - MCG Legacy 2 - Legacy NOLA
              Yes                                                       Other. Specify   #2/Tacklebox


 4.5
 1        Gulf Coast Bank                                            Last 4 digits of account number       2789                                          $317,603.04
          Nonpriority Creditor's Name
          Attn: Michael Carter                                       When was the debt incurred?           2014 - 2015
          200 St. Charles Avenue
          New Orleans, LA 70130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Business - MCG Legacy 2 - Legacy NOLA
              Yes                                                       Other. Specify   #1/ Craft Tavern


 4.5
 2        Gulf Coast Bank                                            Last 4 digits of account number       2778                                          $106,314.82
          Nonpriority Creditor's Name
          Attn: Michael Carter                                       When was the debt incurred?           2015
          200 St. Charles Avenue
          New Orleans, LA 70130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Business - MCG Legacy 2 - Legacy NOLA
              Yes                                                       Other. Specify   #1/Craft Tavern



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 Debtor 1 Paul Michael McGoey                                                                            Case number (if known)

 4.5
 3        Gulf Coast Blenders                                        Last 4 digits of account number                                                          $289.68
          Nonpriority Creditor's Name
          7801 Townsend Place                                        When was the debt incurred?
          New Orleans, LA 70126
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business


 4.5
 4        Gulf Coast Blenders                                        Last 4 digits of account number                                                          $494.87
          Nonpriority Creditor's Name
          7801 Townsend Place                                        When was the debt incurred?           05/22/2019
          New Orleans, LA 70126
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Vets


 4.5
 5        Hamco New Orleans                                          Last 4 digits of account number                                                          $247.92
          Nonpriority Creditor's Name
          280 Hord Street                                            When was the debt incurred?           08/2/2019
          New Orleans, LA 70123
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Vets




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 Debtor 1 Paul Michael McGoey                                                                            Case number (if known)

 4.5
 6        HM Hotel Owner, LLC                                        Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          700 Tchoupitoulas St.                                      When was the debt incurred?
          New Orleans, LA 70130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Business - Personal guaranty for lease by
                                                                                         Legacy NOLA #1, LLC of 700 Tchoupitoulas
              Yes                                                       Other. Specify   St. for Legacy Kitchen's Craft Tavern


 4.5
 7        Inland Seafood Corp                                        Last 4 digits of account number                                                        $6,128.08
          Nonpriority Creditor's Name
          2527 Perdido Street                                        When was the debt incurred?           06/8/2019
          New Orleans, LA 70119
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business OPHG Baton Rouge 1


 4.5
 8        J and J Exterminating                                      Last 4 digits of account number                                                          $220.00
          Nonpriority Creditor's Name
          416 Commerce Point                                         When was the debt incurred?           06/6/2019
          New Orleans, LA 70123
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Vets




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 Debtor 1 Paul Michael McGoey                                                                            Case number (if known)

 4.5
 9        J&J Exterminating                                          Last 4 digits of account number                                                          $360.00
          Nonpriority Creditor's Name
          6313 Equity Drive                                          When was the debt incurred?           03/27/2019
          Baton Rouge, LA 70809
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business OPHG Baton Rouge


 4.6
 0        Jerome Roppolo                                             Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          3121 Magazine Street                                       When was the debt incurred?
          Apartment C
          New Orleans, LA 70115
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Business - Possible personal guaranty for
                                                                                         lease by Vintage #1, LLC of 3121 Magazine
              Yes                                                       Other. Specify   Street for the Vintage restaurant


 4.6
 1        John D. Georges                                            Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          701 Edwards Street                                         When was the debt incurred?
          New Orleans, LA 70123
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Possible claims arising out of business




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 Debtor 1 Paul Michael McGoey                                                                            Case number (if known)

 4.6
 2        Key Vintage Deskjob Investors, LLC                         Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          Attn: Anthony J. Iarocci                                   When was the debt incurred?
          643 Magazine Street, Suite 306
          New Orleans, LA 70130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Possible claims arising out of business


 4.6
 3        Kleinpeter Farms Dairy                                     Last 4 digits of account number                                                        $3,688.34
          Nonpriority Creditor's Name
          14444 Airline Highway                                      When was the debt incurred?           06/4/2019
          Baton Rouge, LA 70801
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business OPHG Baton Rouge


 4.6
 4        Kyle Brechtel                                              Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          930 Poydras St.                                            When was the debt incurred?
          Suite 1905
          New Orleans, LA 70112
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Possible claims arising out of business




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 Debtor 1 Paul Michael McGoey                                                                            Case number (if known)

 4.6
 5        Kyle Crochet                                               Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          610 S. Peters Street                                       When was the debt incurred?
          Suite 305
          New Orleans, LA 70130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Possible claims arising out of business


 4.6
 6        Lake Charles PC, LP                                        Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          Attn: T. McAlister                                         When was the debt incurred?
          909 Poydras St.
          Suite 2800
          New Orleans, LA 70112
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Business - Personal guaranty for lease by
                                                                                         Legacy Gretna #1, LLC of 91 Westbank
                                                                                         Expy. Gretna for Legacy Kitchen Steak and
              Yes                                                       Other. Specify   Chop restaurant


 4.6
 7        Leidenheimer Bread Co.                                     Last 4 digits of account number                                                          $166.80
          Nonpriority Creditor's Name
          1501 Simon Bolivar                                         When was the debt incurred?           07/17/2019
          New Orleans, LA 70113
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Vets



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 Debtor 1 Paul Michael McGoey                                                                            Case number (if known)

 4.6
 8        Leidenheimers Bread Co.                                    Last 4 digits of account number                                                          $319.50
          Nonpriority Creditor's Name
          1501 Simon Bolivar                                         When was the debt incurred?           07/20/2019
          New Orleans, LA 70113
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Gretna


 4.6
 9        Level 3 Communications, LLC                                Last 4 digits of account number                                                        $2,109.12
          Nonpriority Creditor's Name
          1515 Poydras Street                                        When was the debt incurred?           06/1/2019
          New Orleans, LA 70112
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business OPHG Baton Rouge 1 LLC


 4.7
 0        Liskow and Lewis                                           Last 4 digits of account number                                                      $79,192.71
          Nonpriority Creditor's Name
          Attn: Leon Reymond III                                     When was the debt incurred?           09/1/2019
          701 Poydras Street, Suite 5000
          New Orleans, LA 70139
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Various business related legal advice and
              Yes                                                       Other. Specify   transactions.




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 Debtor 1 Paul Michael McGoey                                                                            Case number (if known)

 4.7
 1        Loop Linen                                                 Last 4 digits of account number                                                        $3,225.06
          Nonpriority Creditor's Name
          463 Avenue A                                               When was the debt incurred?           06/4/2019
          Westwego, LA 70094
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business OPHG Baton Rouge


 4.7
 2        Loop Linen                                                 Last 4 digits of account number                                                        $1,081.21
          Nonpriority Creditor's Name
          463 Avenue A                                               When was the debt incurred?           07/2/2019
          Westwego, LA 70094
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Gretna


 4.7
 3        Loop Linen                                                 Last 4 digits of account number                                                        $3,132.57
          Nonpriority Creditor's Name
          463 Avenue A                                               When was the debt incurred?           06/3/2019
          Westwego, LA 70094
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Vets




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 Debtor 1 Paul Michael McGoey                                                                            Case number (if known)

 4.7
 4        Louisiana Fresh Produce                                    Last 4 digits of account number                                                        $6,325.80
          Nonpriority Creditor's Name
          1001 South Dupree Street                                   When was the debt incurred?           05/21/2019
          New Orleans, LA 70125
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business OPHG Baton Rouge


 4.7
 5        Maurices Bakery                                            Last 4 digits of account number                                                          $560.00
          Nonpriority Creditor's Name
          3501 Hessmer Avenue                                        When was the debt incurred?           07/20/2019
          Metairie, LA 70002
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Gretna


 4.7
 6        Mockler Beverage Company                                   Last 4 digits of account number                                                          $163.54
          Nonpriority Creditor's Name
          11811 Reiger Road                                          When was the debt incurred?           09/19/2019
          Baton Rouge, LA 70809
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business OPHG Baton Rouge




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 Debtor 1 Paul Michael McGoey                                                                            Case number (if known)

 4.7
 7        New Orleans Fish House                                     Last 4 digits of account number                                                      $36,738.07
          Nonpriority Creditor's Name
          921 South Dupre Street                                     When was the debt incurred?           04/5/2019
          New Orleans, LA 70125
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Gretna


 4.7
 8        New Orleans Fish House                                     Last 4 digits of account number                                                      $36,738.07
          Nonpriority Creditor's Name
          921 South Dupre Street                                     When was the debt incurred?           04/5/2019
          New Orleans, LA 70125
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Gretna


 4.7
 9        New Orleans Fish House                                     Last 4 digits of account number                                                      $30,123.49
          Nonpriority Creditor's Name
          921 South Dupre Street                                     When was the debt incurred?           04/26/2019
          New Orleans, LA 70125
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Vets




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 Debtor 1 Paul Michael McGoey                                                                            Case number (if known)

 4.8
 0        Omer Rick Keubel                                           Last 4 digits of account number                                                      $22,376.25
          Nonpriority Creditor's Name
          601 Poydras St.                                            When was the debt incurred?           07/25/2018
          Suite 2660
          New Orleans, LA 70130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Hired by Mr. Becnel not Paul McGoey for
                                                                                         his review of Docs and GCB Loan
              Yes                                                       Other. Specify   assistance.


 4.8
 1        One Pack HG Management, LLC                                Last 4 digits of account number                                                          $427.55
          Nonpriority Creditor's Name
          900 Camp Street                                            When was the debt incurred?           09/1/2019
          New Orleans, LA 70130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Gretna


 4.8
 2        One Pack HG Management, LLC                                Last 4 digits of account number                                                        $1,594.17
          Nonpriority Creditor's Name
          900 Camp Street                                            When was the debt incurred?           11/15/2018
          New Orleans, LA 70130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Vets




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 Debtor 1 Paul Michael McGoey                                                                            Case number (if known)

 4.8
 3        One Pack Hospitality Group, LLC                            Last 4 digits of account number                                                        $2,640.26
          Nonpriority Creditor's Name
          900 Camp Street                                            When was the debt incurred?           09/4/2019
          New Orleans, LA 70130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business OPHG Baton Rouge


 4.8
 4        One Pack Hospitality Group, LLC                            Last 4 digits of account number                                                        $4,208.87
          Nonpriority Creditor's Name
          900 Camp Street                                            When was the debt incurred?           09/4/2019
          New Orleans, LA 70130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Gretna


 4.8
 5        One Pack Hospitality Group, LLC                            Last 4 digits of account number                                                        $3,591.49
          Nonpriority Creditor's Name
          900 Camp Street                                            When was the debt incurred?           09/4/2019
          New Orleans, LA 70130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Vets




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 Debtor 1 Paul Michael McGoey                                                                            Case number (if known)

 4.8
 6        OPHG Management LLC                                        Last 4 digits of account number                                                          $204.19
          Nonpriority Creditor's Name
          900 Camp Street                                            When was the debt incurred?           09/1/2019
          New Orleans, LA 70130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   OPHG Baton Rouge 1, LLC


 4.8
 7        PM Hotel Owner, LLC                                        Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          817 Common Street                                          When was the debt incurred?
          New Orleans, LA 70112
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Business - Personal guaranty for lease by
                                                                                         Legacy NOLA #2, LLC of 817 Common
                                                                                         Street for Legacy Kitchen's Tacklebox f/k/a
                                                                                         Legacy Kitchen Oyster Counter and Tap
              Yes                                                       Other. Specify   Room


 4.8
 8        Pontchartrain Systems                                      Last 4 digits of account number                                                          $800.00
          Nonpriority Creditor's Name
          1901 Jefferson Highway                                     When was the debt incurred?           11/25/2018
          New Orleans, LA 70121
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Vets




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 Debtor 1 Paul Michael McGoey                                                                            Case number (if known)

 4.8
 9        Printing Tech of Baton Rouge INc.                          Last 4 digits of account number                                                          $221.87
          Nonpriority Creditor's Name
          11930 South Harrells Ferry Road                            When was the debt incurred?           04/12/2019
          Baton Rouge, LA 70816
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business OPHG Baton Rouge


 4.9
 0        Pro Shine Window Cleaning                                  Last 4 digits of account number                                                            $45.00
          Nonpriority Creditor's Name
          2817 Villa Drive                                           When was the debt incurred?           09/2/2019
          Marrero, LA 70072
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Gretna


 4.9
 1        Pro Shine Window Cleaning                                  Last 4 digits of account number                                                            $50.00
          Nonpriority Creditor's Name
          2817 Villa Drive                                           When was the debt incurred?           07/27/2019
          Marrero, LA 70072
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Vets




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 Debtor 1 Paul Michael McGoey                                                                            Case number (if known)

 4.9
 2        Purveyor of Fine Wines LTd.                                Last 4 digits of account number                                                          $192.00
          Nonpriority Creditor's Name
          1040 Magazine Street                                       When was the debt incurred?           09/17/2019
          New Orleans, LA 70130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business OPHG Baton Rouge


 4.9
 3        Randy Fair                                                 Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          611 Evans Loop                                             When was the debt incurred?
          Mansfield, LA 71052
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Possible claims arising out of business


 4.9
 4        Reinhart Foodservice, LLC                                  Last 4 digits of account number                                                      $13,243.71
          Nonpriority Creditor's Name
          918 Edwards Avenue                                         When was the debt incurred?           11/5/2018
          Harahan, LA 70123
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business OPHG Baton Rouge 1 LLC




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 Debtor 1 Paul Michael McGoey                                                                            Case number (if known)

 4.9
 5        Reinhart Foodservice, LLC                                  Last 4 digits of account number                                                      $48,346.15
          Nonpriority Creditor's Name
          918 Edwards Avenue                                         When was the debt incurred?           11/8/2018
          Harahan, LA 70123
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Gretna


 4.9
 6        Reinhart Foodservice, LLC                                  Last 4 digits of account number                                                      $34,994.87
          Nonpriority Creditor's Name
          918 Edwards Avenue                                         When was the debt incurred?           12/10/2018
          Harahan, LA 70123
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Vets


 4.9      Republic National Distributing
 7        Company                                                    Last 4 digits of account number                                                        $2,137.86
          Nonpriority Creditor's Name
          809 Jefferson Highway                                      When was the debt incurred?           09/10/2019
          New Orleans, LA 70121
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business OPHG Baton Rouge




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 Debtor 1 Paul Michael McGoey                                                                            Case number (if known)

 4.9      Republic National Distributing
 8        Company                                                    Last 4 digits of account number                                                        $1,315.41
          Nonpriority Creditor's Name
          809 Jefferson Highway                                      When was the debt incurred?           09/6/2019
          New Orleans, LA 70121
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Gretna


 4.9      Republic National Distributing
 9        Company                                                    Last 4 digits of account number                                                        $1,879.58
          Nonpriority Creditor's Name
          809 Jefferson Highway                                      When was the debt incurred?           09/6/2019
          New Orleans, LA 70121
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Vets


 4.1
 00       Samson Business Products                                   Last 4 digits of account number                                                          $704.35
          Nonpriority Creditor's Name
          2237 North Hullen Street                                   When was the debt incurred?           03/8/2019
          Metairie, LA 70001
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




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 Debtor 1 Paul Michael McGoey                                                                            Case number (if known)

 4.1
 01       Samson Business Products                                   Last 4 digits of account number                                                          $807.17
          Nonpriority Creditor's Name
          2237 North Hullen Street                                   When was the debt incurred?           03/8/2019
          Metairie, LA 70001
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Vets


 4.1
 02       Samson Business Products INc.                              Last 4 digits of account number                                                          $100.46
          Nonpriority Creditor's Name
          2237 North Hullen Street                                   When was the debt incurred?           04/29/2019
          Metairie, LA 70001
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business OPHG Baton Rouge


 4.1
 03       Scariano Brothers, LLC                                     Last 4 digits of account number                                                      $70,334.40
          Nonpriority Creditor's Name
          201 St. Charles Ave, Suite 4600                            When was the debt incurred?           April, 2019 - present
          New Orleans, LA 70170
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business




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 Debtor 1 Paul Michael McGoey                                                                            Case number (if known)

 4.1
 04       Selective Insurance Co of America                          Last 4 digits of account number                                                        $3,553.00
          Nonpriority Creditor's Name
          40 Wantage Avenue                                          When was the debt incurred?           10/19/2019
          Branchville, NJ 07890
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business OPHG Baton Rouge


 4.1
 05       Sherwin Williams                                           Last 4 digits of account number                                                        $1,447.21
          Nonpriority Creditor's Name
          4469 Perkins Road                                          When was the debt incurred?           06/22/2019
          Baton Rouge, LA 70808
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business OPHG Baton Rouge


 4.1
 06       Southwest Chase Visa                                       Last 4 digits of account number       4691                                           $34,318.15
          Nonpriority Creditor's Name
                                                                                                           Date Opened: 3 years ago
          PO Box 15123                                               When was the debt incurred?           Last Used: 09/28/2019
          Wilmington, DE 19850-5123
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal - goods and services




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 Debtor 1 Paul Michael McGoey                                                                            Case number (if known)

 4.1
 07       State Cleaning Solutions                                   Last 4 digits of account number                                                        $1,504.54
          Nonpriority Creditor's Name
          P.O. Box 844284                                            When was the debt incurred?           07/24/2019
          Boston, MA 02284-4284
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Gretna


 4.1
 08       State Cleaning Solutions                                   Last 4 digits of account number                                                          $815.73
          Nonpriority Creditor's Name
          P.O. Box 844284                                            When was the debt incurred?           07/3/2019
          Boston, MA 02284-4284
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Vets


 4.1
 09       Think IT Solutions                                         Last 4 digits of account number                                                        $1,172.58
          Nonpriority Creditor's Name
          651 Leson Court                                            When was the debt incurred?           04/4/2019
          Harvey, LA 70058
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business OPHG Baton Rouge




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 Debtor 1 Paul Michael McGoey                                                                            Case number (if known)

 4.1
 10       Todd Trosclair                                             Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          1208 Bert Street                                           When was the debt incurred?
          New Orleans, LA 70123
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Possible claims arising out of business


 4.1
 11       TripleSeat Software                                        Last 4 digits of account number                                                              $1.00
          Nonpriority Creditor's Name
          50 Beharrell Street                                        When was the debt incurred?           03/21/2019
          Concord, MA 01742
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business OPHG Baton Rouge


 4.1
 12       Tyler's Pride Produce                                      Last 4 digits of account number                                                      $14,123.74
          Nonpriority Creditor's Name
          8 West Union Street                                        When was the debt incurred?           05/23/2019
          Kenner, LA 70062
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Gretna




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 Debtor 1 Paul Michael McGoey                                                                            Case number (if known)

 4.1
 13       Tylers Pride Produce                                       Last 4 digits of account number                                                      $19,709.55
          Nonpriority Creditor's Name
          8 West Union Street                                        When was the debt incurred?           05/16/2019
          Kenner, LA 70062
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Vets


 4.1
 14       USAA Visa                                                  Last 4 digits of account number       9429                                           $31,512.90
          Nonpriority Creditor's Name
                                                                                                           Date Opened: 5 years ago
          10750 McDermott FWY                                        When was the debt incurred?           Last Used: 09/28/2019
          San Antonio, TX 78288-0570
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal - goods and services


 4.1
 15       USAA Visa                                                  Last 4 digits of account number       8454                                             $3,422.58
          Nonpriority Creditor's Name
          10750 McDermott FWY                                        When was the debt incurred?           September 2019
          San Antonio, TX 78288-0570
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal - goods and services




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 Debtor 1 Paul Michael McGoey                                                                            Case number (if known)

 4.1
 16        Wilshire Plaza Investors, LLC                             Last 4 digits of account number                                                                Unknown
           Nonpriority Creditor's Name
           3867 Plaza Tower Dr.                                      When was the debt incurred?
           Baton Rouge, LA 70816
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
               Debtor 1 only                                            Contingent
               Debtor 2 only                                            Unliquidated
               Debtor 1 and Debtor 2 only
                                                                        Disputed
               At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

               No                                                       Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Business - Possible personal guaranty for
                                                                                         lease by NOCBC Metairie #1, LLC of 759
                                                                                         Veterans Blvd. for Legacy Kitchen
               Yes                                                      Other. Specify   restaurant

 Part 3:       List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Alpine Acadian, LLC                                           Line 4.8 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Attn: Robert Dozier                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 2999 Turtle Creek Blvd.
 Dallas, TX 75219
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 SBC Restaurants, LLC                                          Line 4.66 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 610 S. Peters Street                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 305
 New Orleans, LA 70130
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Scariano Brothers, LLC                                        Line 4.103 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 11052 Scariano Lane                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 Hammond, LA 70403
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Wilshire Plaza Investors, LLC                                 Line 4.116 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 5615 Corporate Blvd.                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 400B
 Baton Rouge, LA 70808
                                                               Last 4 digits of account number


 Part 4:       Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.    Domestic support obligations                                                 6a.       $                           0.00
 Total
 claims
 from Part 1            6b.    Taxes and certain other debts you owe the government                         6b.       $                           0.00
                        6c.    Claims for death or personal injury while you were intoxicated               6c.       $                           0.00
                        6d.    Other. Add all other priority unsecured claims. Write that amount here.      6d.       $                           0.00



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 Debtor 1 Paul Michael McGoey                                                                        Case number (if known)

                        6e.   Total Priority. Add lines 6a through 6d.                                 6e.      $                     0.00

                                                                                                                        Total Claim
                        6f.   Student loans                                                            6f.      $                     0.00
 Total
 claims
 from Part 2            6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                    6g.      $                     0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts        6h.      $                     0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount     6i.
                              here.                                                                             $             1,493,221.61

                        6j.   Total Nonpriority. Add lines 6f through 6i.                              6j.      $             1,493,221.61




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